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                                             7

                                             8                          UNITED STATES DISTRICT COURT
                                             9                       SOUTHERN DISTRICT OF CALIFORNIA
                                            10

                                            11   BRENNAN R. MACLEAN,                             Case No. 3:20-cv-00426-JLS-AGS
                                            12                 Plaintiff,                        MEMORANDUM OF POINTS AND
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                                                                                                 AUTHORITIES IN SUPPORT OF
                                            13          v.                                       DEFENDANT COLLECTION
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                                                                                                 BUREAU OF AMERICA, LTD.’S
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                                            14   COLLECTION BUREAU OF                            MOTION TO DISMISS PLAINTIFF’S
                                                 AMERICA, LTD.,                                  COMPLAINT PURSUANT TO
                                            15                                                   FEDERAL RULE OF CIVIL
                                                               Defendants.                       PROCEDURE 12(b)(6)
                                            16
                                                                                                 Judge:      Hon. Janis L. Sammartino
                                            17                                                   Trial Date: None set
                                            18                                                   Hearing Date:    July 9, 2020
                                                                                                 Hearing Time:    1:30 p.m.
                                            19                                                   Courtroom:       4D
                                            20          Defendant Collection Bureau of America, Ltd. (“CBA”) respectfully submits
                                            21   the following memorandum of points and authorities in support of its motion to
                                            22   dismiss the Complaint filed by Plaintiff Brennan R. MacLean (“Plaintiff”).
                                            23   I.     INTRODUCTION
                                            24          This entire action stems out of Plaintiff’s allegation that CBA violated the Fair
                                            25   Debt Collection Practices Act (“FDCPA”) and the Rosenthal Fair Debt Collection
                                            26   Practices Act (“RFDCPA”) by sending a collection letter to Plaintiff. Plaintiff does
                                            27   not dispute that the letter stated the correct amount owed by Plaintiff or that CBA’s
                                            28   breakdown of the amount owed into the categories of principal, interest, and fees was
                                                                                             1                          3:20-cv-00426-JLS-AGS
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                                             1   correct. Instead, Plaintiff claims that because the breakdown of the fees stated $0.00
                                             2   and the letter contained the “safe harbor” language set forth in Miller v. McCalla,
                                             3   Raymer, Padrick, Cobb, Nichols and Clark, L.L.C., 214 F.3d 872, 876 (7th Cir.
                                             4   2000), stating that “[b]ecause of interest, late charges, and other charges that vary
                                             5   from day to day, the amount due on the day you pay may be greater,” he was
                                             6   somehow mislead into believing that fees may accrue on the amount he owed in the
                                             7   future. This allegation fails to support a claim under the FDCPA or RFDCPA for
                                             8   two reasons: (1) the statement that interest, late charges, or other charges may accrue
                                             9   in the future is a correct representation of California law; and (2) courts that have
                                            10   addressed similar language in collection letters have found the language to be
                                            11   appropriate and a “safe harbor” from alleged FDCPA violations.                Put simply,
                                            12   Plaintiff cannot maintain a lawsuit against CBA for CBA making correct statements
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                                            13   in a collection letter. Instead, this lawsuit appears to be an attempt by Plaintiff and
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                                            14   his counsel to put CBA in the position of removing the “safe harbor” language from
                                            15   a collection letter so that Plaintiff and his counsel can turn around and sue CBA for
                                            16   not informing Plaintiff about the possibility of fees being added to the amount owed
                                            17   in the future.
                                            18   II.     FACTUAL BACKGROUND
                                            19           Plaintiff alleges that on or about October 28, 2019, CBA sent Plaintiff a
                                            20   collection letter attempting to collect on an amount Plaintiff owed to East Bay
                                            21   Municipal Utility District. Complaint ¶¶10-11. The collection letter outlined the
                                            22   total amount Plaintiff owed through the following itemization:
                                            23           PRINCIPAL:                        $296.90
                                            24           INTEREST:                         $7.64
                                            25           FEES:                             $0.00
                                            26           TOTAL AMOUNT DUE:                 $304.54
                                            27   Id. at ¶13. The collection letter also stated that “[a]s of the date of this letter, you
                                            28   owe $304.54. Because of interest, late charges, and other charges that vary from day
                                                                                              2                          3:20-cv-00426-JLS-AGS
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                                             1   to day, the amount due on the day you pay may be greater. Hence, if you pay the
                                             2   amount shown above, an adjustment may be necessary after we receive your check.”
                                             3   Id. at ¶14. Plaintiff alleges that because of the itemization of $0.00 in “fees” and the
                                             4   statement that the amount due may change because of interest, late charges, and
                                             5   other charges, Plaintiff believed that he may be subject to further “fees.” Id. at ¶15.
                                             6   This alleged belief forms the basis of his FDCPA and RFDCPA causes of action. Id.
                                             7   at ¶¶30, 33, 39.
                                             8         Notably, Plaintiff does not dispute that the itemization of the amount owed
                                             9   stated in the collection letter was correct, including that itemization of fees as $0.00.
                                            10   Plaintiff also does not allege that the collection letter stated that “fees” may vary
                                            11   from day to day.
                                            12   III. LEGAL STANDARD
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                                            13         Dismissal is proper pursuant to Rule 12(b)(6) of the Federal Rules of Civil
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                                            14   Procedure when a plaintiff’s complaint fails to state a claim upon which relief can be
                                            15   granted. This can take the form of either a “lack of a cognizable legal theory or the
                                            16   absence of sufficient facts alleged under a cognizable legal theory.” Balisteri v.
                                            17   Pacifica Police Dept’t, 901 F.2d 696, 699 (9th Cir. 1988). Although a court must
                                            18   accept factual allegations in a complaint as true, it need not accept conclusions or a
                                            19   mere recitation of elements. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Indeed,
                                            20   the allegations in a complaint must meet a standard of plausibility in order to avoid
                                            21   dismissal. Id. at 679.
                                            22   IV. ARGUMENT
                                            23         A. Plaintiff’s FDCPA Cause of Action Fails
                                            24         “To determine a violation of the FDCPA, district courts apply a ‘least
                                            25   sophisticated debtor’ test.” Khosroabadi v. North Shore Agency, 439 F.Supp.2d
                                            26   1118, 1122 (S.D. Cal. 2006). “The least sophisticated debtor standard reflects the
                                            27   important balance between the need to protect consumers from deceptive and
                                            28   abusive collection practices, and the need to protect the debt collectors from liability
                                                                                            3                          3:20-cv-00426-JLS-AGS
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                                             1   based upon unreasonable interpretations of collection letters.” Wan v. Commercial
                                             2   Recovery Systems, Inc., 369 F.Supp.2d 1158, 1162 (N.D. Cal. 2005). As one court
                                             3   put it, “[w]hile the least sophisticated consumer may lack the astuteness of a
                                             4   Philadelphia lawyer or even the sophistication of the average, everyday, common
                                             5   consumer, he can nonetheless be presumed to possess a rudimentary amount of
                                             6   information about the world and a willingness to read a collection notice with some
                                             7   care.” Kolbasyuk v. Capital Mgmt. Servs., LP, 918 F.3d 236, 239 (2d Cir. 2019)
                                             8   (internal quotations and citations omitted). “Whether a communication violates the
                                             9   FDCPA, from the perspective of the least sophisticated debtor, is a question of law
                                            10   for the courts.” Khosroabadi, supra, 439 F.Supp.2d at 1122.
                                            11         Plaintiff alleges that CBA violated 15 U.S.C. 1692e and 1692f through “false
                                            12   and deceptive representations” about the fees and through “unfair or unconscionable
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                                            13   means” by attempting to collect an amount that is not “authorized by the agreement
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                                            14   creating the debt or permitted by law.” Complaint, ¶¶30, 32 (emphasis added).
                                            15   The collection letter stating that Plaintiff owed $0.00 in fees and that “[b]ecause of
                                            16   interest, late charges, and other charges that vary from day to day, the amount due on
                                            17   the day you pay may be greater,” was not false, deceptive, or an attempt to collect an
                                            18   amount that is not permitted by law.
                                            19         First, the statement that “[b]ecause of interest, late charges, and other charges
                                            20   that vary from day to day, the amount due on the day you pay may be greater” is
                                            21   legally and factually correct. Interest had already begun to accrue on the debt and
                                            22   would continue to do so each day going forward. Cal. Civ. Code §3287; Diaz v.
                                            23   Kubler Corp., 785 F.3d 1326 (9th Cir. 2015) (“Section 3287(a) allows recovery of
                                            24   interest from the time the creditor’s right ‘is vested,’ and we have previously
                                            25   explained that ‘California cases uniformly have interpreted the ‘vesting’ requirement
                                            26   as being satisfied at the time the amount of damages become certain or capable of
                                            27   being made certain, not the time liability to pay those amounts is determined.’”).
                                            28   Additionally, the debt owed by Plaintiff could become the subject of fees in the
                                                                                           4                          3:20-cv-00426-JLS-AGS
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                                             1   future if Plaintiff failed to pay the debt and a legal proceeding was brought to collect
                                             2   the debt—exactly as Plaintiff alleges he was warned by the collection letter.
                                             3   California Code of Civil Procedure § 1032(b) provides: “Except as otherwise
                                             4   expressly provided by statute, a prevailing party is entitled as a matter of right to
                                             5   recover costs in any action or proceeding.” Recoverable costs include “[f]iling,
                                             6   motion and jury fees,” deposition fees, service fees, witness fees, expert witness fees,
                                             7   and court reporter fees. Cal. Code Civ. Proc. §§ 1033.5(a)(1), (3), (4), (7), (8), (11),
                                             8   (14). It is axiomatic that the collection letter explaining the truth is not a false
                                             9   representation or a threat of action that cannot be legally taken. As such, Plaintiff’s
                                            10   FDCPA cause of action fails.
                                            11         Second, Plaintiff’s FDCPA cause of action also fails because case law has
                                            12   found that the language included in the collection letter here is appropriate and
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                                            13   actually informs a consumer about the nature of the amount owed. Specifically, the
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                                            14   language that “[b]ecause of interest, late charges, and other charges that vary from
                                            15   day to day, the amount due on the day you pay may be greater,” is nearly identical to
                                            16   the language relied on by multiple Circuits as “safe harbor” language that a debt
                                            17   collector should include in a collection letter to avoid liability for failing to disclose
                                            18   that a debtor’s balance may increase. See Avila v. Riexinger & Associates, LLC, 817
                                            19   F.3d 72, 76-77 (2d. Cir. 2016) (adopting the Seventh Circuit’s “safe harbor”
                                            20   language of “[b]ecause of interest, late charges, and other charges that may vary
                                            21   from day to day, the amount due on the day you pay may be greater” to avoid debt
                                            22   collectors being subject to liability pursuant to 15 U.S.C. 1692e for misleading
                                            23   consumers). Indeed, if CBA did not include this “safe harbor” language in the
                                            24   collection letter it would potentially open itself up to other lawsuits, including those
                                            25   by Plaintiff and his counsel, that CBA did not accurately disclose the amount of the
                                            26   debt. That is, rather than suing CBA over putting $0.00 in the fee column, Plaintiff
                                            27   would be suing CBA for not disclosing that interest was accruing or that should CBA
                                            28   have to bring litigation, it could recover certain fees from Plaintiff. Plaintiff’s
                                                                                            5                           3:20-cv-00426-JLS-AGS
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                                             1   unreasonable interpretation, which would require CBA to exclude this “safe harbor”
                                             2   language, logically should not be grounds for an FDCPA violation. Indeed, Plaintiff
                                             3   is attempting to place CBA in a Catch-22—it faces liability under the law whether it
                                             4   discloses the potential financial ramifications or not.
                                             5           This District dealt with a similar issue in Hutton v. Law Offices of Collins &
                                             6   Lamore, 668 F.Supp.2d 1251 (S.D. Cal. 2009). There, the plaintiff alleged that the
                                             7   defendant violated the FDCPA and the RFDCPA by sending a collection later that
                                             8   stated “your outstanding balance due in the amount of $22,519.17, which may not
                                             9   include accruing interest (and does not account for changing exchange rates after the
                                            10   date of this letter, for accounts originated in a foreign country). As interest may
                                            11   continue to accrue, Please call our office to verify current balance if payment in full
                                            12   is made more than 30 days after the date of this letter.” Id. at 1253. The district
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                                            13   court granted the motion to dismiss finding that accruing interest is “a potential add-
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                                            14   on to his or her present debt that cannot be specified in a [collection] letter and can
                                            15   only be referred to in a hypothetical sense. Hence the safe harbor language that Judge
                                            16   Posner crafted in Miller: ‘Because of interest, late charges, and other charges that
                                            17   may vary from day to day, the amount due on the day you pay may be greater.’” Id.
                                            18   at 1257 (emphasis in the original). Thus, the defendant’s language that “interest may
                                            19   continue to accrue” (i.e., a “potential add-on” to the debt) did not violate the FDCPA
                                            20   and was, in fact, “[t]he best [the defendant] can do” as the defendant “has no idea
                                            21   when, if at all, the debtor will pay up.” Id. at 1258.
                                            22           Here, CBA’s alleged collection letter tracks the “safe harbor” language even
                                            23   more closely than in Hutton regarding “potential add-ons” to the amount of the debt.
                                            24   As discussed, supra, the amount of fess could have, in fact, increased from $0.00 if
                                            25   Plaintiff failed to pay the debt. As in Hutton, the best that CBA could do is indicate
                                            26   that there may be an increase in the amount owed based on when Plaintiff paid the
                                            27   debt.
                                            28   ///
                                                                                              6                          3:20-cv-00426-JLS-AGS
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                                             1          Third, Plaintiff does not allege that the collection letter stated that “fees” may
                                             2   vary from day to day, which is his supposed confusion about the letter.                  His
                                             3   interpretation otherwise is an unreasonable interpretation that should not be
                                             4   considered a violation of the FDCPA. See Wan v. Commercial Recovery Systems,
                                             5   Inc., supra, 369 F.Supp.2d at 1162.
                                             6          B. Plaintiffs’ RFDCPA Cause of Action Fails
                                             7          Plaintiff’s RFDCPA claim is based on the same alleged violations of the
                                             8   FDCPA (i.e., 15 U.S.C. §§ 1692e and 1692f). Complaint, ¶39. Since Plaintiff’s
                                             9   FDCPA cause of action fails, so does his RFDCPA claim.
                                            10   V.     CONCLUSION
                                            11          For the foregoing reasons, the Court should grant CBA’s Motion to Dismiss the
                                            12   Complaint without leave to amend. Plaintiff’s allegation that CBA’s collection later
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                                            13   used the “safe harbor” language in correctly stating the possibility that fees may be
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                                            14   added to the amount owed does not support a violation of the FDCPA or the
                                            15   RFDCPA. Correctly stating the potential financial ramifications is not a violation of
                                            16   either statute.
                                            17   Dated: May 11, 2020                      HAHN LOESER & PARKS LLP
                                            18
                                            19                                 _________ By: /s/ Gabe P. Wright
                                                                                             Gabe P. Wright
                                            20                                               Kyle T. Overs
                                                                                             Attorneys for Defendant Collection
                                            21                                               Bureau of America, Ltd.
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                                             1                              CERTIFICATE OF SERVICE
                                             2         I hereby certify that on May 11, 2020, I electronically filed the foregoing with
                                             3   the clerk of the court by using the CM/ECF system, which will send a notice of
                                             4   electronic filing to counsel of record in this case.
                                             5

                                             6                                              /s/ Gabe P. Wright
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                                                                                            Gabe P. Wright

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